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                                                                                              E-FILED
                                                               Wednesday, 27 July, 2016 04:37:18 PM
                                                                      Clerk, U.S. District Court, ILCD

040904/19344/PEH/JNR/BJC

                         UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF ILLINOIS, SPRINGFIELD DIVISION

ANTHONY FIELDS,

                      Plaintiff,
                                                    No. 16-cv-2108
v.
                                                    Judge Colin Stirling Bruce
BRITTANY EDWARD, et al.,

                      Defendants.

     ANSWER TO PLAINTIFF’S AMENDED COMPLAINT WITH AFFIRMATIVE
                              DEFENSES

       NOW COMES the Defendants, LPN JEANINE TATMAN, BRITTANY EDWARD, DR.

PAUL TALBOT AND WEXFORD HEALTH SOURCES, INC., by their attorneys, CASSIDAY

SCHADE LLP, and pursuant to Local Rule 16.3(E)(2) and the Court’s May 17, 2016 Order,

hereby submit their Answer and Affirmative Defenses to Plaintiff’s Complaint, stating as

follows:

       1.     Defendant Tatman admits she has been employed as an LPN at Danville

Correctional Center at what appears to be the time relevant to the Complaint.

       2.     Defendant Edward admits she was formerly employed as a nurse practitioner at

Danville at what appears to be a time relevant to the Complaint but denies she currently works at

Danville.

       3.     Defendant Talbot admits he was formerly employed as a physician and medical

director at Danville at what appears to be a time relevant to the Complaint but denies he

currently works at Danville.
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        4.     Defendant Wexford admits that it is a medical vendor to the Illinois Department

of Corrections and provides medical staff at Danville Correctional Center in accordance with its

contract with the Illinois Department of Corrections.

        5.     Defendants admit that jurisdiction and venue are proper in the Central District of

Illinois.

        6.     Defendants deny that any act or omission on their part constitutes deliberate

indifference to a serious medical need.

        7.     Defendants deny that Plaintiff had a serious medical need as alleged in the

Complaint.

        8.     Defendants deny that any response they may or may not have made to any request

of the Plaintiff constituted deliberate indifference to a serious medical need.

        9.     Defendants deny that Plaintiff was injured by any act, omission, or delay

allegedly caused by Defendants.

        10.    Defendants deny Plaintiff was injured by any unconstitutional custom, policy, or

practice of Defendant Wexford.

        11.    Defendants deny that Plaintiff is entitled to any relief whatsoever.

        12.    Defendants deny that Plaintiff's claims are meritorious.

DEFENDANTS DEMAND TRIAL BY JURY

                                  AFFIRMATIVE DEFENSES

        1.     At all times relevant herein, Defendants acted in good faith in the performance of

their official duties and without violating Plaintiff's clearly established statutory or constitutional

rights of which a reasonable person would have known. Defendants are therefore protected from

suit by the doctrine of qualified immunity.




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       2.      To the extent Plaintiff has failed to exhaust his administrative remedies prior to

initiating bringing this action, his claims are barred by Section 1997e(a) of the Prison Litigation

Reform Act.

       3.      To the extent Plaintiff’s claims are more than two years old, they are barred by the

applicable statute of limitations.

DEFENDANTS DEMAND TRIAL BY JURY AS TO THEIR AFFIRMATIVE

DEFENSES

       WHEREFORE, for the above reasons, Defendants respectfully requests this Honorable

Court deny Plaintiff any relief in this matter and grant Defendants judgment as to all matters and

any other relief deemed appropriate, including cost of suit.

                                              Respectfully submitted,

                                              CASSIDAY SCHADE LLP

                                              By: /s/ Joseph N. Rupcich
                                                  Attorneys for Defendants, LPN JEANINE
                                                  TATMAN, BRITTANY EDWARD, DR.
                                                  PAUL TALBOT AND WEXFORD HEALTH
                                                  SOURCES, INC.

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on July 27, 2016, I electronically filed the foregoing Answer to

Plaintiff’s Complaint with Affirmative Defenses with the Clerk of the Court using the CM/ECF

system. The electronic case filing system sent a “Notice of E-Filing” to the following:



         and I hereby certify that a true and correct copy of the foregoing Answer to Plaintiff’s

Complaint with Affirmative Defenses was served via regular mail to the following non-CM-ECF

participant at the following address by depositing the same in the U.S. mail located in

Springfield, Illinois, with proper postage prepaid, on July 27, 2016. Under penalties as provided

by law pursuant to 735 ILCS 5/1-109, I certify that the statements set forth herein are true and

correct:

PRO SE:
Anthony Fields
IDOC #R55308
Pontiac Correctional Center
Inmate Mail/Parcels
P.O. Box 99
Pontiac IL 61764
(815) 842-2816



                                                            /s/ Joseph N. Rupcich
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